                  Case 8-18-75663-reg                   Doc 22   Filed 10/09/18       Entered 10/15/18 10:36:28


 Information to identify the case:
 Debtor 1              Jennifer B Alexis                                             Social Security number or ITIN   xxx−xx−8150
                       First Name   Middle Name    Last Name                         EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                            Social Security number or ITIN _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)
                                                                                     EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court             Eastern District of New York
                                                                                     Date case filed for chapter 7 8/21/18
 Case number:          8−18−75663−reg




                                    NOTICE OF AUTOMATIC DISMISSAL OF CASE
                                      UNDER BANKRUPTCY CODE § 521 (i)(1)

NOTICE IS HEREBY GIVEN THAT:


1) This case was filed on August 21, 2018, with deficiencies.

2) A Notice of Deficiency Filing was sent on August 21, 2018, informing the debtor(s), among other things, that
there were outstanding statements, schedules and/or lists to be filed or the case may be subject to automatic dismissal
under § 521(i)(1) of the Bankruptcy Code.

3) A Final Notice of Section 521 Deficiencies was sent on October 9, 2018, notifying the debtor(s) that certain
documents remained outstanding and in the absence of those documents being filed, the case would be dismissed
under § 521(i)(1) of the Bankruptcy Code.

4) As of this date, some or all of the required documents have not been filed with the Clerk of the Court.

Under § 521(i)(1), the above captioned case is dismissed effective on the 46th day after the date of the filing of the
petition.



 Dated: October 15, 2018


                                                                           For the Court, Robert A. Gavin, Jr., Clerk of Court




BLnod521.jsp [Notice of Dismissal rev. 02/01/17]
